Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 1 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 2 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 3 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 4 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 5 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 6 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 7 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 8 of 14
Case 19-14653-VFP   Doc 1    Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 9 of 14
Case 19-14653-VFP   Doc 1     Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 10 of 14
Case 19-14653-VFP   Doc 1     Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 11 of 14
Case 19-14653-VFP   Doc 1     Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 12 of 14
Case 19-14653-VFP   Doc 1     Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 13 of 14
Case 19-14653-VFP   Doc 1     Filed 03/07/19 Entered 03/07/19 13:57:21   Desc
                            Petition Page 14 of 14
